                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    In re:                                                   Bankruptcy No. 18-21983

    SHANNI SUE SNYDER,                                       Chapter 7
         Debtor.

    CHRISTINE BIROS,
           Movant,
                                                             Related Doc. Nos.:
    v.

    SHANNI SUE SNYDER, CHARLES O.
    ZEBLEY, as Trustee to the Debtor,
          Respondents.

         ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

AND NOW, to wit, this                 day of                    , 20__, upon due consideration of the

foregoing Expedited Motion For Relief From the Automatic Stay (hereinafter, the “Motion”)1,

filed by Christine Biros, it is hereby ORDERED, ADJUDGED and DECREED:

         1) The Motion is GRANTED; and

         2) The Trustee consents to granting Christine Biros relief from the automatic stay (to the
            extent there is an automatic stay in effect) in this case, including but not limited to, (a)
            seeking to vacate the Judgment and (b) objecting to Debtor’s claim in the U-Lock
            Bankruptcy Case.

Prepared By:

By: /s/ Kirk B. Burkley
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1   All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
Consented to By:

By: /s/ Charles O. Zebley, Jr.
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Chapter 7 Trustee



Dated:                           BY THE COURT:


                                 Honorable Carlota Böhm
                                 United States Bankruptcy Judge
